                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


                                                       Chapter 11
  In re:
                                                       Case No. 20-12522 (JTD)
  MALLINCKRODT PLC, et al.,                            (Jointly Administered)


                  Reorganized Debtors.


  Heather L. Barlow as Trustee of the
  MALLINCKRODT GENERAL                                 Adv. Pro. No. 22-50426 (JTD)
  UNSECURED CLAIMS TRUST,

                  Plaintiff,

            vs.

  First Object, Inc.

                  Defendant.


   MOTION OF FIRST OBJECT, INC. TO RE-OPEN ADVERSARY PROCEEDING,
    VACATE DEFAULT JUDGMENT AND SET ASIDE ENTRY OF DEFAULT

       1.          First Object, Inc. (“First Object”) hereby moves, pursuant to Rules 55(c) and

60(b)(4) of the Federal Rules of Civil Procedure, made applicable to this proceeding through

Federal Rules of Bankruptcy Procedure 7055 and 9024, to Re-Open this Adversary Proceeding,

Vacate Default Judgment and Set Aside Entry of Default (the “Motion”). In support of this

Motion, First Object incorporates its Opening Brief in Support of Motion to Re-Open Adversary

Proceeding, Vacate Default Judgment and Set Aside Entry of Default filed contemporaneously

herewith.

                                         [Continued on Next Page]



                                                  1
       WHEREFORE, First Object respectfully requests this Court re-open the above-captioned

Adversary Proceeding, Vacate the Default Judgment [Adv. D.I. No. 8] and set aside the Entry of

Default [Adv. D.I. No. 7].

Dated: February 23, 2023
                                           /s/ Michael J. Joyce
                                           Michael J. Joyce (No. 4563)
                                           JOYCE, LLC
                                           1225 King Street, Suite 800
                                           Wilmington, DE 19801
                                           (302)-388-1944
                                           mjoyce@mjlawoffices.com

                                           Counsel to First Object, Inc.




                                              2
